                                Case 18-20166            Doc 13       Filed 09/01/18           Page 1 of 2
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 18-20166-WIL
Robert Oran Rice, Jr.                                                                                      Chapter 7
Melissa Leigh Rice
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0416-0                  User: tsukeena                     Page 1 of 1                          Date Rcvd: Aug 30, 2018
                                      Form ID: trnoncmp                  Total Noticed: 11


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 01, 2018.
db/db          +Robert Oran Rice, Jr.,    Melissa Leigh Rice,    16440 Triple Crown Ct.,
                 Hughesville, MD 20637-2867
30698069       +Carriage Crossing,    P.O. Box 523,    Hughesville, MD 20637-0523
30698070        Chrysler CapitaL,    P.O. Box 660647,    Dallas, TX 75266-0647
30698249       +Comptroller of the Treasury,    Compliance Division, Room 409,    301 W. Preston Street,
                 Baltimore, MD 21201-2305
30698071       +Ford Credit,   P.O. Box 542000,     Omaha, NE 68154-8000
30698072        Shellpoint Mortgage Servicing,    P.O. Box 169063,    Dallas, TX 75261-9063
30698073       +T.E.F.C.U.,   2440 Market St, N.E. ste 901,     Washington, DC 20018-3853
30698247       +Taxing Authority of,    Charles County-Treasurer,    PO Box 2150,   La Plata, MD 20646-2150
30698074       +Williamsburg Plantation REsort,     4870 Long Hill Rd.,   Williamsburg, VA 23188-1571

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion04.ba.ecf@usdoj.gov Aug 30 2018 19:54:19
                 United States Trustee R4_CH7,   Garmatz Federal Courthouse,    101 West Lombard Street,
                 Suite 2625,   Baltimore, MD 21201-2668
30698248       +E-mail/Text: UIBankruptcyNotices.DLLR@maryland.gov Aug 30 2018 19:55:22
                 State of Maryland DLLR,   Division of Unemployment Insurance,    1100 N. Eutaw Street, Room 401,
                 Baltimore, MD 21201-2225
                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 01, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 29, 2018 at the address(es) listed below:
              Daniel J. Guenther   guentherlaw01@hotmail.com, danieljamesguenther@hotmail.com
              Steven H Greenfeld   trusteegreen@cohenbaldinger.com, sgreenfeld@ecf.epiqsystems.com
                                                                                            TOTAL: 2
                        Case 18-20166         Doc 13       Filed 09/01/18       Page 2 of 2
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                        at Greenbelt
                                In re:    Case No.: 18−20166 − WIL          Chapter: 7

Robert Oran Rice Jr. and
Melissa Leigh Rice
Debtors

                                 NOTICE OF NON−COMPLIANCE
                              AND OF POSSIBLE DISMISSAL OF CASE


WARNING − The Trustee in your case has notified the Court that the debtor has not provided:

          A copy of the pay advices to the trustee pursuant to § 521(a)(1)(B)(iv) of Title 11 U.S.C.
          and Local Bankruptcy Rule 1007−4 , and

          A copy of the Federal income tax return to the trustee pursuant to § 521(e)(2)(A) of Title 11 U.S.C.

Accordingly, you have 14 days from the date of this notice to respond before the Court makes a decision on the
dismissal of this case.

Do not file copies of payment advices or Federal income tax returns with the Court. Payment advices and tax
returns are to be provided to the trustee.

Dated: 8/30/18
                                                            Mark A. Neal, Clerk of Court
                                                            by Deputy Clerk, Todd Sukeena
                                                            410−962−4072


cc:   Debtor
      Attorney for Debtor − Daniel J. Guenther
      Case Trustee − Steven H Greenfeld
      U.S. Trustee
      All Creditors

Form trnoncmp
